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Momhly Operatir\g Report

 

LAT|TUDE SOLUT|ONS, |NC

     
  

 

CASE NAN|E:

 

CASE NUMBER:

 

 

JUDGE:- w di RUSSELL F NELMS

 

 

 

UN|TED STATES BANKRUPTCY COURT
NORTHERN D|STR|CTOF TEXAS
FORT WORTH D|VlSlON
N|ONTHLY OPERAT|NG REPORT

MONTH END|NG: MAY 31, 2018

|N ACCORDANCE W|TH T|TLE 28, SECT|ON 1746, OF THE UN|TED STATES CODE, l
DECLARE UNDER PENALTY OF FERJURV THAT l HAVE EXAM|NED THE FOLLOW|NG
MONTHLV OPERAT|NG REPORT (CASH BAS|S-l THROUGH CASH BAS|S-G) AND THE
ACCOMPANY|NG ATTACHN|ENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE
DOCUMENTS ARE TRUE, CORRECT AND COMPLETE. DECLARAT|ON OF THE PREPARER
(OTHER THAN RESPONS|BLE PARTY): |S BASED ON ALL |NFORN|AT|ON OF WH|CH
PREPARER HAS ANV KNOWLEDGE.

RESPONS|BLE PARTV:

 

 

 

/s/ Carey D Ebert Trustee
ORlGlNAL SIGNATLJRE OF RESPONS!BLE PARTY TITLE
Carey D Ebert 6/22/2018
PR|NTED NAME OF RESPONS|BLE PARTY DATE
PREPARER:

/s/ Thomas McKenney Accountant
ORIGlNAL SlGNATURE OF PREPARER TlTLE
Thomas McKenney 6/22/2018

 

PRINTED NAME OF PREPARER DATE

 

 

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CASE NAI\/IE: LATITUDE SOLUT|ONS, |NC

CASE NUMBER: 12-46295~RFN-11

 

MONTHLY OPERAT!NG REPORT
CASH BAS|S 1
CASH ACT|VITY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH
Cash Receipts/Disbursements MAY 2018
1 Cash - Beg of Month $ 293,594.88
Receipts
2 Cash Sa!es $ '
3 AR Collections -
4 Loans & Ac|vances ~
5 Sa|e of Assets -
6 Sett|ement Funds -
7 Wages -
Sa Other Receipts - Return of Deposit(s) -
8b Other Receipts - Fraudu|ent Transfer -
9 Tota| receipts $ _
Disbursements
10 Net Payro|| - Contract Labor $ -
11 Payro|| Taxes paid -
12 Sales, use & other taxes -
13 |nventory Purchases -
14 N|ortgage Payments -
15 Secured note payments -
16 Renta| and Lease payments -
17 Uti!ities -
18 Insurance -
19 Vehic|e Expenses -
20 Travel -
21 Entertainment -
22 Repairs & Maintenan<:e -
23 Supp|ies -
24 Advertising v
25 Househo|d expenses -
26 Charitab|e Contributions -
27 Gifts -
28a Other Disbursements » De|ivery Service -
28b Other Disbursernents - Storage Expense -
28€ Other Disbursements - Bank Fees -
28d Other Disbursements - Entry Correction ~
29 Tota| Operating Disbursements $ -
Reorganization Costs
30 Professiona! Fees $ -
31 US Trustee Fees -
32 Other - Bond Fee ~
33 Total Reorganization Expenses $ -
34 Tota| Disbursements $ -
35 Net Cash FlOW $ -
36 Cash - End of |\/|onth $ 293,594.88

 

 

 

 

 

 

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CASE NAI\/IE: LAT|TUDE SOLUTIONS, |NC

CASE NU|\/|BER: 12-46295-RFN~11

 

N|ONTHLY OPERAT|NG REPORT
CASH BAS|S 1A
CASH DlSBURSEMENTS DETA|L

SCHEDULE N|CNTH
CASH DISBURSEMENTS DETA|L AMOUNT MAY 2018

DATE PURPOSE AMOUNT

TAL D|SBURSE|V| ENTS

 

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CASE NA|\/!E: LAT|TUDE SOLUT|ONS, |NC

CASE NU|\/|BER: 12-46295-RFN-11

 

MONTHLY OPERAT|NG REPORT
CASH BASlS 2

BANK RECONC|L|ATlONS

N|onth: MAY 2018

 

 

 

 

 

 

 

 

 

 

BANK RECONC|L|AT|ONS ACCOUNT #1 ACCOUNT #2 ACCOUNT #3 TOTAL

A Bank |ntegrity Bank

B Account Number *6295

C Purpose Trustee Acct
l Balance per Bank $ 293,594.88 $ » $ 293,594.88
2 Add: Deposits not Credited 5 - $ - $ -
3 Less: Outstanding Checks S ~ $ _ 5 _
4 Other Reconci|ing ltems $ - 5 - $
5 l\/ionth end balance per books $ 293,594.88 $ ~ $ 293,594.88
6 Number of last check written 3213

 

 

INVESTMENT ACCOUNTS

 

Bank Account Name & Number

 

7 N/A

 

8

 

9

 

10

 

11 Total Investments

 

CAS H

 

12 Currency on Hand

$ _

 

 

13 Tota| Cash - End of i\/|onth

 

 

 

$ 293,594.83

 

 

 

 

 

 

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CASE NA|VIE.’ LATiTUDE SOLUTIONS, |NC

CASE NUMBER:12»46295-RFN-11

 

MONTHLY OPERAT|NG REPORT
CASH BAS|S 3
ASSETS OF THE ESTATE

ASSETS OF THE ESTATE

REAL PROPERTY - Schedu|e A
1 None
2
3
4 Total Rea| Pr
PERSONAL PROPERTY - Schedu|e B
Cash on Hand
Checki Savin
De
Househo|d Goods
Books
Clothes
Furs
Firearms
|nsurance Po|icies
Annuities
Profit Sharin
Stocks

Bonds
u|ed R*
Recervabie ~ F&T Water
Receivabie » Avivid

dated Debts
E uitabie |nterests
t |nterests
C|aims
ents

hic|es**

lanes
ui ment
achi Fi)<tures&E ui ent
nventO
imais

arm E u
arm

- Fraudu|ent Transfer
ota| Persona| Property Assets
ota| Assets

SCHEDULE
AMOUNTSA

Unknown
Unknown
30 000.00
445 3.00

161.00
127 .OO
390 .00

Unknown
1,129,678.85
129 678.85

293 94.88
25 089.00 $

Unknowr\
Unknown
30 .00
363 701.62

4 037.14
127 .OO
23 441.16

Unknown
1,017,566.24
017 66.24

’\ The Scheduied amounts were obtained from the Debtor's Chapter 7 Schedu!es
* Three payments on the Accounts Receivab|e were received during the Chapter 7 bankruptcy of this Debtor
** Three Ford trucks were sold during the Chapter 7 bankruptcy ofthis Debtor

80 233.44
45 .00
24 .00

Unknown
Unknown
30 000.00
363 701.62

4 7.14
127 .00
23 441.16

Unknown
1,017,566.24
1 017 66.24

 

CASE NAi\/IE; LATlTUDE SOLUT|ONS lNC

MONTHLY OPERAT|NG REPORT
CASH BASlS 4
LlABlLlTlES OF THE ESTATE

LIAB|LIT|ES OF THE ESTATE

Pr

on Liabi|ities
Secured Debt

P Debt
Unsecured Debt

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SCHEDULE
AMOUNTS"

3 10 3.33
19 1.35
13 021 344.62

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MONTH
Apr-18

3 310 993.33
19 221.35
13 021,344.62

MONTH
May-18

3,310,993.33
19,221.35
13 021,344.62

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Other _

Tota|Pre nLiabi|ities 16 35 559.30 16,351,559.30 1 35 59.30

Post-Petition Liabi|ities
1 Fed income Taxes
FlCA/l\/iedicare
State Taxes
Rea| Estate Taxes
Other Taxes
Tota| Taxes

Other Post-Petition
7 US Trustee
8 Le |
9 D|P Accoun
10 D|P |\/ia er
11 Accounts P ble

Tota| Post Petition Liabi|ities

1 35 559.30 $

TotalLiabi|ities 16 1 59.30 $ 16

 

/\ The Scheduied amounts were obtained from the Debtor's Chapter 7 Schedules

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CASE NAME: LAT|TUDE SOL

NUMBER:12~46295-RFN-11

 

MONTHLY OPERAT|NG REPORT
CASH BAS|S 4A
A/R and PAYABLES

       
 

     
 

 
       
     

MONTH
FEBRUARY 2018

MONTH
APR|L 2018

MONTH
MARCH 2018

MONTH
MAY 2018

SCHEDULE
AMOUNT

             
   

 

       

   

             
       
  

ACCOUNTS RECE|VABLE AGING

      
    
    

0-30
31-60
61-90
91+
Schedu|ed
AR for F&T Water & Avivid
Unco||ectible Amount

  
  
  
  
   
   
 

   
  

    
     

   
  

    
 

  

80
70

80 33.44
70

     
  

 
   
  
 
     
 

¢

80
70

.44
.OO

.44

    

 
     

 

1
2
3
4
5
6
7

3.44

 

      
  

          
    
    
 
  

    
 

150
91+ DAYS

   

150
31-60 DAYS

150
61-90 DAVS

 

87
0-30 DAYS

  
  

 

8 .71
AGING OF POST-PET|T|ON TAXES AND PAYABLES
axes

1

 

    

    
 

Federa|
State
Loca|
Other - Ta)<es
otal Ta)<es
Other
Accounts

  
   
 
  

   
  

2
3
4
5
6
7

 
   
  

   

   

  

AMT ACCRUED AMT PA|D END|NG LlAB

  

ATUS OF POST~PE¥|TION TAXE$ BEG TAX LlAB

  
 
  
 
  
 
  
 

  
  

F|CA -
FlCA ~ Em
U
|ncome
Other
Tota| Federal
and Loca|

  
  
  
  
 

1
2
3
4
5
6
7

 
 
     
 
  
  
  
  
 
 

Sales
Excise
U
Real
personal
Other ' Severance
Total State & Local
Total Ta)<es

  
  
  
  
  
  
 

* Three payments on the Accounts Receivables were received during the Chapter 7 bankruptcy of this Debtor
* Accounts Receivab|e aging is unavailable at this time

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CASE NAl\/lE: LATlTUDE SOLUT|ONS, lNC

CASE NUl\/|BER:12»46295vRFN'11

 

MONTHLY OPERAT|NG REPORT
CASH BA$lS 5 Month: MAY 2018
PAYMENTS TO |NS|DER$ AND PROFESSlONALS

lNSlDERS

Type of Amount Previous Amts Total Paid
P ent Paid Paid to Date

Tota| Payments to |nsiders

PROFESS|ONALS

Date of Court Order Amount Amount Total Paid Tota| lncurred
Authorizin P t oved Paid to Date & Un

Tota| Payments to Professiona|s

POST-PET|T|ON STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE PROTECT|DN PAYNlENTS

Schedu|ed l\/lonth|y Amounts Paid Total Unpaid
Name of Creditor Payments Due Duri !\/lonth Post-Petition

None

 

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CASE NAl\/lE: LATlTUDE SOLUT|ONS |NC

 

    

 

cAsE NUMBER: 12-46295-RFN§11

 

 

 

 

 

MONTHLY OPERAT|NG REPORT
CASH BAS|S 6 N|Onth: MAY 2018

QUESTIONNA|RE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

QUEST|ONNA|RE
YES NO
1. HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSlDE X
THE NORl\/|Al_ COURSE OF BUSINESS TH|S REPORT|NG PERIOD?
2. HAVE ANY FUNDS BEEN DlSBURSED FROl\/l ANY ACCOUNT X
OTHER THAN A DEBTOR lN POSSESS|ON ACCOUNT?
3. ARE ANY POSTPETlTlON RECE|VABLES (ACCOUNTS, NOTES, OR X
LOANS) DUE FROl\/'| RELATED PART|ES?
4. HAVE ANY PAYMENTS BEEN l\/|ADE ON PREPET|T|ON L|AB|L|T|ES X
TH|S REPORT|NG PER|OD?
5. HAVE ANY POSTPET|T|ON LOANS BEEN RECE|VED BY THE X
DEBTOR FROl\/| ANY PARTY?
6. ARE ANY POSTPET|T|ON PAYROLL TAXES PAST DUE? X
7. ARE ANY POSTPETlT|ON STATE OR FEDERAL |NCOME TAXES X
PAST DUE?
8. ARE ANY POSTPET|T|ON REAL ESTATE TAXES PAST DUE? X
9. ARE ANY OTHER POSTPETlTlON TAXES PAST DUE? X
10. ARE ANY AMOUNTS OWED TO POSTPET|T|ON CRED|TORS X
DELlNClUENT?
11. HAVE ANY PREPETlTlON TAXES BEEN PAlD DUR|NG THE X
REPORT|NG PER|OD?
12. ARE ANY WAGE PAYl\/lENTS PAST DUE? X
|F THE ANSWER TO ANY OF THE ABOVE QUESTlONS |S "YES," PROVlDE A DETAlLED
EXPLANATlON OF EACH |TEl\/l. A`|_|'ACH ADD|T|ONAL SHEETS lF NECESSARY.
#2 - A Trustee bank account was established when Carey D Ebert was appointed the Chapter 11 Trustee.
lNSURANCE
VES NO
1. ARE WORKER'S COl\/|PENSAT|ON, GENERAL L|AB|l_|TY AND OTHER X
NECESSARY |NSURANCE COVERAGES |N EFFECT?
2. ARE ALL PREl\/l|Ul\/l PAYl\/|ENTS PAlD CURRENT? X
3. PLEASE |TEl\/||ZE POL|C|ES BELOW.
Trustee lnsurance Agency - Persona| Property lnsurance

 

 

 

 

|F THE ANSWER TO ANY OF THE ABOVE QUESTIONS lS "NO," OR |F ANY POLlC|ES HAVE BEEN
CANCELLED OR NOT RENEWED DUR|NG THlS REPORT|NG PER|OD, PROVIDE AN EXPLANAT|ON
BELOW. ATl'ACH ADDlTlONAl. SHEETS |F NECESSARY.

 

 

lNSTALLMENT PAY|VIENTS
TYPE OF PAYMENTAl\/IOUNT
POLlCY CARRlER PERlOD COVERED & FREQUENCY

 

